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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


ASADULLAH HAROON “AL AFGHANI”
GUL, DETAINEE AT
GUANTANAMO BAY, CUBA

                         Petitioner,

              v.                                              No. 1:16-cv-01462

DONALD J. TRUMP, et al.,

                        Respondents.


                                   [PROPOSED] ORDER

       The Court, having fully considered the Unopposed Motion for Extension of Time for

Petitioner to File Reply in Support of Motion for Discovery, hereby ORDERS that the Motion be

GRANTED. Petitioner shall file his reply on or before June 30, 2017.



       IT IS SO ORDERED, this ______ day of June, 2017.



                                                   _______________________________
                                                   Hon. Amit P. Mehta
                                                   United States District Judge
